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                                             No. 24-165
                                     _________________________
                                UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
                                     _________________________
                                        KELLY CAHILL, ET AL.,
                                                           Plaintiffs-Respondents,
                                                     and
                        NON-PARTY MEDIA ORGANIZATIONS INSIDER INC.,
                               D/B/A BUSINESS INSIDER, ET AL.,
                                                Non-Party Media Orgs.-Respondents,
                                             v.

                                                NIKE, INC.,
                                                         Defendant-Petitioner.
                                      _________________________
                  On Appeal from the United States District Court for the District of Oregon
                                        Hon. Marco A. Hernández
                                       Case No. 3:18-cv-01477-JR
                                      _________________________
                     DECLARATION OF DANIEL PRINCE IN SUPPORT OF
                 DEFENDANT-PETITIONER NIKE, INC.’S MOTION TO CONTINUE
                     SEALING OF PLAINTIFFS’ ANSWERING BRIEF AND
                         SUPPLEMENTAL EXCERPTS OF RECORD
                                 _________________________
                               Daniel Prince, CA Bar No. 237112
                              Felicia A. Davis, CA Bar No. 266523
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                                                NIKE, INC.
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                                     DECLARATION OF DANIEL PRINCE

                        I, Daniel Prince, hereby declare as follows:

                        1.    I am an attorney duly licensed to practice law in the State of

              California, the United States District Court for the Central District of California,

              and before this Court. I am a partner with the law firm of Paul Hastings LLP,

              counsel of record for Defendant-Petitioners NIKE, Inc. (“NIKE”) in the above-

              captioned matter. I have personal knowledge of the facts herein, and if called upon

              to do so, could and would competently testify thereto.

                        2.    I submit this Declaration in Support of NIKE’s Motion to Continue

              Sealing of Plaintiffs’ Answering Brief and Supplemental Excepts of Record.

                        3.    As referenced in NIKE’s Motion, attached hereto is Exhibit A,

              NIKE’s proposed redactions to Plaintiffs’ Answering Brief and Supplemental

              Excerpts of Record. Text proposed to be redacted is highlighted in yellow.

                        4.    A true and correct copy of ECF No. 82, Parties Stipulated Protective

              Order, dated June 17, 2019, is attached hereto as Exhibit B. As used herein, cites

              to “ECF No.” refer to entries on the docket in the matter below, Cahill v. Nike,

              Inc., Case No. 3:18-cv-01477-JR, in the United States District Court for the

              District of Oregon.

                        5.    A true and correct copy of ECF No. 471, NIKE’s Motion for Sanction

              and Contempt Regarding Plaintiffs’ Counsel’s Unauthorized Disclosures of



                                                           1
(3 of 3), Page 3 of 3            Case: 24-165, 05/15/2024, DktEntry: 47.2, Page 3 of 3




              Confidential Judicial Records in Violation of Court Orders, dated April 17, 2024,

              is attached hereto as Exhibit C.

                        I declare under penalty of perjury under the laws of the United States of

              America that the foregoing is true and correct. Executed on this 15th day of May,

              2024, at Los Angeles, California.

                                                               /s/ Daniel Prince
                                                                     DANIEL PRINCE




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